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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 21-153 (RBW)
                                     )
DANIEL GOODWYN,                      )
                                     )
                  Defendant.         )
____________________________________ )

                                            ORDER

       In accordance with the oral rulings issued by the Court at the status hearing held on

August 6, 2021, via videoconference, it is hereby

       ORDERED that the parties shall appear before the Court for a status hearing on

October 5, 2021, at 9:00 a.m, via videoconference. It is further

       ORDERED that, with the consent of both the defendant and the government, the time

from August 5, 2021, to October 5, 2021, is excluded under the Speedy Trial Act, in light of the

fact that the defendant and his counsel require additional time to review the discovery provided

by the government.

       SO ORDERED this 6th day of August, 2021.




                                                     REGGIE B. WALTON
                                                     United States District Court Judge
